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   1                       UNITED STATES DISTRICT COURT

   2                      CENTRAL DISTRICT OF CALIFORNIA

   3              HONORABLE ANDREW J. GUILFORD, JUDGE PRESIDING

   4    ADAM GHADIRI,                           )
                                                )
   5                                            )
                                                )
   6                             Plaintiff,     )
                                                )
   7                                            )
                                                )
   8                Vs.                         )   No. SACV18-01869-AG
                                                )
   9                                            )
                                                )
 10     CARPET AND LINOLEUM CITY,               )
                                                )
 11                                             )
                                                )
 12                              Defendant.     )
                                                )
 13     ________________________________        )

 14

 15

 16                    REPORTER'S TRANSCRIPT OF PROCEEDINGS

 17                                MOTION HEARING

 18                             SANTA ANA, CALIFORNIA

 19                           MONDAY, NOVEMBER 4, 2019

 20

 21

 22                      MIRIAM V. BAIRD, CSR 11893, CCRA
                       OFFICIAL U.S. DISTRICT COURT REPORTER
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 25



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   1                            A P P E A R A N C E S

   2

   3    IN BEHALF OF THE PLAINTIFF,          Dennis Jay   Price, II
        ADAM GHADIRI:                        Center For   Disability
   4                                         Access
                                             8033 Linda   Vista Road Suite
   5                                         200
                                             San Diego,   CA 92111
   6

   7

   8

   9

 10     IN BEHALF OF THE DEFENDANT,          ARA SAHELIAN
        CARPET AND LINOLEUM CITY:            SAHELIAN LAW OFFICES
 11                                          23046 AVENUE DE LA CARLOTA
                                             SUITE 600
 12                                          LAGUNA HILLS, CA 92653

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   1      SANTA ANA, CALIFORNIA; MONDAY, NOVEMBER 4, 2019; 11:14 A.M.

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   3

   4                THE CLERK:    SACV18-01869-AG, Adam Ghadiri v. Carpet

   5    and Linoleum City, et al.

   6                THE COURT:    The confusion is it looks like you

   7    pulled the previous file in anticipation of what we just

   8    decided.    So now we are on to number 14.

   9                All right.    Appearances, please.

 10                 MR. SAHELIAN:    Good morning, Your Honor.

 11                 Ara Sahelian for Carpet and Linoleum.

 12                 MR. PRICE:    Good morning, Your Honor.

 13                 Dennis Price for the plaintiff Adam Ghadiri.

 14                 THE COURT:    Okay.   So let me say just a few initial

 15     statements.    88 cases have come to take up, gosh, maybe

 16     20 percent or more of the calendars of District Court judges

 17     across the Central District.       I must say some of them are

 18     reacting pretty negatively to them.        My view is Congress says

 19     this is a right.     I'm here to enforce whatever Congress says.

 20                 I also think Congress intends the plaintiff to have

 21     some incentive in fee awards.       I understand all of that, but

 22     I do think there are limits.       I'll note in the first

 23     paragraph we say the defendants are owners of a modest retail

 24     carpet store, a modest retail carpet store.         I -- I take

 25     seriously the effect on such stores.



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   1                 Now, I make some -- I -- we previously have been

   2    here before with the $595 an hour rate.         In previous cases, I

   3    have attempted to just say, gosh, when you're aiming for a

   4    $4,000 recovery, 595 followed by three or four other people

   5    at 450 is just too rich.       I attempted to say that discretely

   6    in previous cases.     There was fulsome argument about the

   7    wonderful qualifications of the attorney involved, et cetera,

   8    et cetera.    There was, I think -- perhaps, it was with you,

   9    Mr. Price, the notion that I'm not allowed to say eight

 10     people on an ADA case are too many.        I've said what I need

 11     to -- nine people on an ADA case are too many.          I've said

 12     what I said about that.      I previously tried to say it

 13     discretely because I didn't want to necessarily bar you in

 14     other cases, but we now have two more.

 15                  I -- I know that when and if I approve 595, I am

 16     going to get cited as the guy who approved 595.          I don't want

 17     to necessarily build on that.

 18                  So here we are.     What would either side like to

 19     say?

 20                  MR. PRICE:   Yes, Your Honor.    If I may?

 21                  THE COURT:   Yes.

 22                  MR. PRICE:   I think I am the one on the brunt end

 23     on this.    I was the one who argued on the Karaki (phonetic)

 24     case.   We did not go further with that because that matter

 25     got resolved.



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   1                THE COURT:    Appeal me on it.    Let me say.    You'll

   2    forgive me if I say, go ahead and make my day.          If you want

   3    to appeal the fact that nine attorneys with -- with the

   4    highest rate 595, way more than half of them over 450 and the

   5    lowest 400 is something I can't comment on in determining the

   6    reasonableness of the ruling, fine.        I think I find case

   7    authority contrary to your authority.        I mean, I understand

   8    your authority.     I think I got other authority that is

   9    contrary to it.     Perhaps, you need to clarify it since it's

 10     now come up three times.       You keep telling me we've got nine

 11     people from 595 to 400.      We've got 30,000 plus recovery for a

 12     $4,000 claim.     Appeal it.   Honestly.    It's not meant to be a

 13     threat.    Appeal it.    Elevate your case.     We'll see.   I

 14     don't -- I don't -- we'll see.       I'll rely on the case law we

 15     have cited.    I invite you to appeal.      Go ahead.

 16                 MR. PRICE:    I want to say -- that's not exactly

 17     where I was going, but we'll cross that bridge if we have to.

 18                 THE COURT:    Uh-huh.   No threat.    If you want to

 19     appeal me and if I misinterpreted the law, let me know.

 20                 MR. PRICE:    I love Pasadena.    That's fine.

 21                 The one thing I do want to address is the issue of

 22     too many attorneys.

 23                 THE COURT:    Yeah.

 24                 MR. PRICE:    We have actually changed our pleading

 25     since the Karaki hearing.      I believe this matter had been



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   1    submitted prior to the hearing in that matter.          We have made

   2    some modifications.      Frankly, the reason we staff our firm

   3    the way we staff our firms is we have tried a lot of

   4    different approaches.      We have found in our judgment that

   5    this is the most efficient way to staff a firm.          We don't

   6    have multiple people doing the same task.         We do use what has

   7    sometimes derisively been called as an assembly line

   8    approach.    We don't see that as something that is worthy of

   9    derision.    We bring in relatively young attorneys --

 10                 THE COURT:    At $500 an hour?    $450 an hour?

 11                 MR. PRICE:    They get there.    These are attorneys

 12     who have been at their particular aspect of the case for

 13     quite sometime.

 14                 THE COURT:    So you have relatively young attorneys

 15     charging $400 an hour in ADA case?

 16                 MR. PRICE:    I want to clarify, Your Honor.       I'm

 17     saying these attorneys who are originally brought into our

 18     firm fairly new, not really up to speed on the ADA, but now

 19     they are.    They have done the same type of litigation in some

 20     cases hundreds if not thousands of times -- in my case,

 21     despite the fact that I haven't been a member of the Bar for

 22     as long as some others might be.       You're not going to find

 23     anyone who knows the area of the law that I'm doing better

 24     than me.

 25                 The same can be said for almost every other person



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   1    on this list.     We have made adjustments based on their actual

   2    expertise.    When it comes to doing discovery, the attorneys

   3    that are doing that aspect of the discovery, they're doing it

   4    with a level of expertise effectively unparalleled.          When

   5    they get to an area of case that they're not intimately

   6    familiar with, it is handed to someone intimately familiar

   7    with it.    We never bill for any time two attorneys are doing

   8    the same task.     If something is drafted and then reviewed by

   9    someone else, we never draft [sic] for someone reviewing that

 10     task.   We bill for the person drafted it.        So you're actually

 11     getting the cheaper attorney getting billed for that.

 12                  We're never billing for the hand-off or for the

 13     refamiliarization of the file or anything of that sort.

 14     We're only billing for tasks done and the amount time done on

 15     those tasks.    We believe the amount of time spent on each of

 16     those tasks -- if you look at the actual individual without

 17     any preconception as to how many attorneys -- without any

 18     regard to the number of attorneys that are staffing it as to

 19     that somehow being inherently negative, you'll see they are

 20     doing these in an efficient time period.         If the entire file

 21     had been billed to Dennis Price, we wouldn't be questioning

 22     the amount of time that was spent on an individual task.            We

 23     wouldn't be looking at it that way.

 24                  So when the only rationale that is being used is

 25     that there are too many attorneys, but we're not looking at



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   1    the amount of hours they're spending on the tasks as being

   2    unreasonable, I think that's in violation of Moreno vs. City

   3    of Sacramento.     I'm not saying that there not circumstances

   4    where a case can be overstaffed.

   5                Here, that's not happening.      Each task is

   6    individually being done.       Each task is being done with a

   7    reasonable amount of fees.

   8                THE COURT:    Slow down a bit.

   9                MR. PRICE:    It seems like the complaint is that it

 10     is being done non-traditionally.       I don't think that kind of

 11     judgment call is appropriate without a justification for why

 12     too many is frankly too many.

 13                 THE COURT:    Well, let me start with what the

 14     tentative says.     $2,000 reviewing the file.      Okay.   Is there

 15     $2,000 reviewing the file?

 16                 MR. PRICE:    Yes.

 17                 THE COURT:    Is it a fairly straightforward ADA case

 18     where the maximum damages statutorily are $4,000.           You're

 19     going to spend $2,000.      Forgive me for assuming that maybe

 20     that's partly the result of the multiple attorneys involved

 21     in this case.     Maybe not.     I was in a firm for multiple,

 22     multiple decades.     And I just don't know how attorney number

 23     nine can come on board and automatically know all that

 24     attorney number nine needs to know that hasn't already been

 25     learned by attorneys 1, 2, 3, 4, 5, 6, 7, and 8.



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   1                 MR. PRICE:   I understand the question, Your Honor,

   2    but I think it's frankly an inappropriate question.          I think

   3    the tasks have to speak for themselves if the amount of time

   4    that has been taken has been reasonable.

   5                 Now, you draw attention to one particular aspect.

   6    This was not a usual case.       Your Honor has seen a lot of

   7    cases from our firm.      We very, very seldom substitute in with

   8    a plaintiff who has been representing himself in pro per.

   9    That was the context here.       A case that had been litigated

 10     without us.    We had to receive a file from a

 11     non-sophisticated plaintiff.       We had to review it and make

 12     sure the case would be viable.       That did take an amount of

 13     time.   Unfortunately, he's not an attorney.        He will probably

 14     never be an attorney.      So we had to get familiarized.       You'll

 15     never see that billing line item on another case from us most

 16     likely because we just don't substitute in on cases.          This

 17     was the very first case we'd done with this plaintiff.           I

 18     don't think it was inappropriate.        Unusual, yes.

 19                  THE COURT:   I hope you realize there is a societal

 20     and even a judicial concern that modest retail carpet stores

 21     should not have to pay $36,000 in a case where your recovery

 22     is $4,000.

 23                  Now, you may choose to respond -- understand that,

 24     respect that, deal with that, or you may not.         I'm telling

 25     you there's concern.      I meant what I said.     You need to be



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   1     incentivized.    You need to be efficient yet incentivized.

   2                 Again, I invite you to take it to lovely Pasadena.

   3     I will make the record clear here that can perhaps be cited

   4     by the appellee in dealing with an ADA case, I am taking into

   5     account the fact that this case with a $4,000 recovery is now

   6     seeking an attorney fee award based on the work of nine

   7     lawyers ranging from 595 to the lowest amount of 400.          Appeal

   8     me and reverse me.     Let the Ninth Circuit say I'm not allowed

   9     to look at the number of lawyers, and I should accept your

  10     statement that you have done everything as efficiently as

  11     possible.   We'll see.    It's fine.    Perhaps, I'm wrong.

  12                 I am just saying that in my application of the will

  13     of the Congress and my need to give you proper incentive and

  14     respect what Congress wants to happen with this statute, I am

  15     just not comfortable with nine attorneys lowest rate of $400

  16     working on this case.     I'm not.

  17                 MR. PRICE:   I understand that.     If I just make one

  18     more point.    I do think there's another incentive that does

  19     not get discussed sometimes when focusing on the plaintiff's

  20     side of these cases.     We frequently litigate these cases in

  21     this Court.

  22                 THE COURT:   By the way, I understand the injunction

  23     too, if that's what you're about to say.        The injunctive part

  24     is extremely important.      The injunctive part is Congress --

  25     well, I'm not looking at Congressional intent.         Sure.



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   1     Injunction.    I get that.    I should have mentioned injunction

   2     as well as the 4,000.     It's possible the injunction is more

   3     valuable to society than the 4,000, or -- I'll even go

   4     further.    These are all arguments on your behalf.        The threat

   5     of injunction, the threat of 4,000, and the threat of 36,000

   6     are more important to encourage self-policing.         I understand

   7     all that.   I really do.     I just think there's too many

   8     attorneys charging too much on this case.

   9                 MR. PRICE:   That's fair.    That was part of what I

  10     intended to say.    I think there's another counter incentive

  11     in these cases that needs to be taken into account.          That's

  12     the -- if attorneys are not awarded in full for the time that

  13     they spend on these cases, there is a lot of incentive on

  14     behalf of the defense bar to litigate them when they know

  15     they're not going to have to pay market rates for the amount

  16     of work that gets done on the case.       These cases should

  17     settle early.    They do very frequently settle early.        There

  18     are some attorneys who are very aware that some members of

  19     the bench will not award full attorney's fees while they will

  20     still get paid in full.      They're not using the tools that

  21     will enable these cases to settle early.        It's noteworthy.

  22     There's no Rule 68 that was in this case.        Those are very

  23     powerful tools.    As Your Honor knows, we very frequently

  24     agree to them.    That results in much more modest awards and

  25     injunctive relief.     That is judicially enforceable.       That



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   1     didn't happen here.

   2                 It's unfortunate.     As you know, there are a lot of

   3     small businesses who do end up burdened by the awards.          What

   4     is the alternative?      This is the only enforcement mechanism.

   5     We can't just dismiss the case because the attorneys' fees

   6     got too high.    We have to vindicate our client's rights.         We

   7     did.    We got everything we were entitled to.       We attempted to

   8     defend a meritless appeal that was ultimately dismissed by

   9     the defendant in this case.       We're entitled to seek fees for

  10     that.   I -- I understand that Your Honor has decided that

  11     that has come to a total of $15,000 as reasonable.          I don't

  12     think that is applying either the incentives or the law.

  13     That's all I would say.

  14                 I understand the rationale that Your Honor has put

  15     in the tentative.     As I mentioned in the previous case, it's

  16     appreciated.    It's thorough.    Frankly, I don't really even --

  17     I question the legal authority to require me to cite a

  18     non-binding decision, but whatever.       It's not that big of a

  19     deal.   I'm not unhappy with it.      If this gets appealed, I

  20     probably have to cite it.      I do question the -- I guess, the

  21     requirement.

  22                 THE COURT:    Okay.   Mr. Price, good discussion.        I

  23     appreciate your good faith and what you've stated here.

  24     Based on that, I'm going to take out that line page 4 of 6.

  25     Plaintiff's counsel is ordered to cite this decision.          I'm



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   1     going to take out that line just because I can see you're

   2     operating in good faith.      We have a different view of how to

   3     run these cases.    We'll take out that line, and you can seek

   4     vindication of your view.      Be careful what you seek.      There's

   5     rumblings out there that this isn't the way to go.

   6                  MR. PRICE:    I'm named counsel on every single case

   7     in the Central District.      I'm definitely seeing all of that.

   8     Every single ADA case from our firm.        It's troubling.    It is

   9     what it is.

  10                  THE COURT:    I can remember KFI, 17200, nail shops,

  11     dirty water.    Give me a couple of thousand, and I'll go away.

  12     I don't know if you remember that.

  13                  MR. PRICE:    I'm aware of them.   I don't remember --

  14                  THE COURT:    I don't want that to happen to this

  15     Congressional mandate.       I don't want that to happen.     I

  16     always used to say about those lawyers they're just applying

  17     17200.   Change 17200.     They did.   Let's just be careful here.

  18     Honestly, appeal me.      I'd be happy to have clarification from

  19     the Ninth.    With all of that, we'll turn to defense counsel.

  20                  MR. SAHELIAN:    Your Honor, I -- I would be -- it

  21     would be unwise for me to make any comments other than your

  22     tentative ruling is on point.

  23                  I've litigated close to -- I would have to say 30,

  24     40, maybe 50 cases.       I haven't counted with Mr. Price's firm.

  25     It is troubling.    The way I describe the way they bill is if



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   1     you are traveling from San Diego to Santa Ana, you would have

   2     three ways to go.     You could walk, you could take a private

   3     jet, or you could drive.      They seem to opt for the private

   4     jet.

   5                There are ways to run a litigation practice and do

   6     it efficiently.    Unfortunately, there seems to be no

   7     incentive to run these cases efficiently from their end.

   8                Personally, if I were asked to go in and reorganize

   9     their offices, I would make sure it would -- it could run a

  10     lot more efficiently than it does today.        They do provide a

  11     service on certain case.      Unfortunately, on some cases that

  12     are brought, it's coercion is what results.         I'll stop there

  13     so I -- I have other opinions, which I will reserve to

  14     myself.

  15                THE COURT:    All right.    Sir, well stated.     May I

  16     say that though I've stricken that line, that doesn't mean

  17     you can't cite the case.

  18                Would you mind if I also say, it appears you have a

  19     disability too?    So your words have some power.

  20                MR. SAHELIAN:     I do, your Honor.     I'm probably one

  21     of the last polio cases you will see.        I've -- I contracted

  22     polio at the age of six months.       I walked on crutches from

  23     the age of six until last 15 years when I started using a

  24     wheelchair because it got to be too difficult.         I remember

  25     when you couldn't get into a restaurant because there were



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   1     steps or so on and so forth.      When you get to a point when

   2     there's a lawsuit filed because the coat hook in the men's

   3     rest room is a few inches too high, and it happens to be

   4     summer time, and the demand for that coat hook is $14,000

   5     take it or leave it, and we will go and try this case all the

   6     way down and give you $100,000 attorney fee, then we have

   7     gone completely crazy.

   8                Your Honor, I do have a case where the demand is

   9     $15,000 for a coat hook.      Here's the -- here's a funny part

  10     of it.   The coat hook was at the right height.        A young boy

  11     poked himself in the eye because it was at the lower.          The

  12     manager not knowing of the ADA rules raised it, and here we

  13     are.   We have a lawsuit.

  14                THE COURT:    All right.    Any response?

  15                MR. PRICE:    I want to say that none of that is

  16     applicable to this case.      I don't actually know the case he's

  17     speaking about.    I would hope that's not taken into

  18     consideration --

  19                THE COURT:    Absolutely not.

  20                MR. PRICE:    -- when Your Honor looks at this order

  21     again.

  22                THE COURT:    I just want to find the right balance.

  23     Mr. Price, I'm very impressed with your argument and your

  24     rationale and your approach and your conviction that your

  25     firm is doing this as efficiently as possible.



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   1                  Mr. Sahelian, I totally respect your good faith.

   2     Both sides have important issues to -- to protect and defend

   3     here.   I'll make -- I'll remove that one line.        We'll go

   4     forward.

   5                  MR. SAHELIAN:    Your Honor, if I may, I did bring my

   6     client with me because I wanted him to hear what you had to

   7     say today.

   8                  THE COURT:   Okay.

   9                  MR. SAHELIAN:    He does run a small carpet shop.

  10                  THE COURT:   Yeah.

  11                  MR. SAHELIAN:    It's very difficult to make a profit

  12     nowadays.

  13                  THE COURT:   Well, by the way, it was one line in

  14     the opening paragraph.       I'm not sure that is a factor under

  15     the law in determining fees.

  16                  MR. PRICE:   It's actually legally not.     The Lopez

  17     versus Castillo apartments said it was inappropriate to

  18     consider.    I don't think -- I'm unclear from your order if

  19     you actually did consider it.      You may clarify that if you

  20     choose.

  21                  THE COURT:   Well stated.   Gosh, you're earning your

  22     450.    That's all I can say.     Thank you both.

  23                  MR. PRICE:   One clarification, Your Honor.      Will

  24     this tentative be the rule.

  25                  THE COURT:   It's under submission.     I'll look it



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   1     over.   For sure, I'll take out that line, because you

   2     impressed me totally with your bonafides.         Now if you bring

   3     it again with nine people -- we'll see what happens when you

   4     bring it again.

   5                  MR. PRICE:   The motion will look a little

   6     different.    I'll say that, Your Honor.

   7                  THE COURT:   Good.

   8                  MR. SAHELIAN:   Thank you, Your Honor.

   9                  (Proceedings concluded at 11:36 a.m.)

  10

  11

  12                                  CERTIFICATE

  13     I HEREBY CERTIFY THAT THE FOREGOING IS A TRUE AND CORRECT

  14     TRANSCRIPT OF THE STENOGRAPHICALLY RECORDED PROCEEDINGS IN

  15     THE ABOVE MATTER.

  16     FEES CHARGED FOR THIS TRANSCRIPT, LESS ANY CIRCUIT FEE

  17     REDUCTION AND/OR DEPOSIT, ARE IN CONFORMANCE WITH THE

  18     REGULATIONS OF THE JUDICIAL CONFERENCE OF THE UNITED STATES.

  19

  20     /s/ Miriam V. Baird                  01/17/2020

  21     MIRIAM V. BAIRD                            DATE
         OFFICIAL REPORTER
  22

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                            UNITED STATES DISTRICT COURT
